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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                             )
JEREMY ROMANOFSKY,                           )
                                             )
             Plaintiff                       )
                                             )
v.                                           )      CIVIL ACTION NO. 15-cv-14224
                                             )
TALK OF THE TOWN DINER I, INC.               )
d/b/a THE TALK RESTAURANT and                )
KAZAR KEUCHKARIAN, JR.,                      )
                                             )
             Defendants                      )
                                             )

                                  NOTICE OF DISMISSAL

      Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), the plaintiff hereby dismisses this action.

                                                    Respectfully submitted,

                                                    JEREMY ROMANOFSKY,
                                                    By his attorney,

                                                    /s/ William T. Harrington
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Dated: February 10, 2016
